                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

 TOMMIE HARDY,                                )
                                              )
              Plaintiff,                      )
                                              )
       v.                                     )   Case No. 4:19-cv-237
                                              )
                                              )
 CITY OF KANSAS CITY,                         )
 MISSOURI,                                    )
                                              )
              Defendant.                      )


 MOTION FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADING
         TO PLAINTIFF’S FIRST AMENDED COMPLAINT

      Pursuant to Fed. R. Civ. P. 6(b) and 15(a), the Defendant, the City of Kansas

City, Missouri (the City), respectfully requests its deadline for filing a responsive

pleading in this case be extended up to and including October 16, 2019. In support of

this motion, the City states:

      1.     Following the Court’s Order Granting Motion to Dismiss dated August

14, 2019 (Doc. 23), Plaintiff was given 30 days to file an amended complaint.

      2.     Plaintiff filed his First Amended Complaint on September 11, 2019.

      3.     Pursuant to Fed. R. Civ. P. 15(a), the City’s responsive pleading is due

Wednesday, September 25, 2019. This is the City’s first requested extension to the

responsive pleading deadline for Plaintiff’s First Amended Complaint in this case.

      4.     In the time following Plaintiff’s filing of his First Amended Complaint,

counsel for the City has been responsible for drafting and filing a substitute reply

brief in the Missouri Supreme Court. Counsel for the City is also preparing for a jury

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trial that is scheduled to begin on Monday, September 30, 2019, in Missouri state

court. This trial is expected to last at least five days.

       5.     Because of these other obligations, more time is needed for the City to

formulate its response to Plaintiff’s newly added claims of the City’s alleged

unconstitutional patterns, policies, practices, and/or customs which deprive African-

American employees of their rights, privileges, and/or immunities.

       6.     This request for extension is made in good faith and not to delay the

proceedings in this matter. The City still intends to meet the other deadlines imposed

by this Court’s Scheduling and Trial Order (Doc. 24).

       7.     Counsel for the City has contacted Plaintiff’s counsel by email to

determine if there is an objection to this requested extension; no response has been

received.

       WHEREFORE, the City respectfully requests this Court extend the deadline

for filing its initial responsive pleading to Plaintiff’s First Amended Complaint to

October 16, 2019.




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Dated: September 25, 2019              Respectfully submitted,

                                       OFFICE OF THE CITY ATTORNEY


                                       By:    /s/ Timothy R. Ertz
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                                       Attorneys for Defendant City of Kansas
                                       City, Missouri.




                          CERTIFICATE OF SERVICE

      I hereby certify that on September 25, 2019, I electronically filed the foregoing

Motion for Extension of Time to File Responsive Pleading with the Clerk of the Court

using the CM/ECF system which will automatically send e-mail notification to all

CM/ECF participants of record in this case.


                                              By:    /s/ Timothy R. Ertz
                                                     Assistant City Attorney
                                                     Attorney for Defendant




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